Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 1 of 8 PageID 1368




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
    _______________________________________
                                            )
    UNITED STATES OF AMERICA,              )
    ex rel. BARBARA BERNIER;               )
    BARBARA BERNIER; and ESE LOVE,          )
                                            )
            Plaintiffs,                     )  Case No. 6:16-cv-00970-RBD-TBS
                                            )
    v.                                      )
                                            )
    INFILAW CORPORATION;                   )
    CHARLOTTE SCHOOL OF LAW, LLC;          )
    AMERICAN BAR ASSOCIATION,               )
    d/b/a COUNCIL OF THE SECTION            )
    OF LEGAL EDUCATION AND                 )
    ADMISSIONS TO THE BAR; and             )   ORAL ARGUMENT REQUESTED
    AMERICAN BAR ASSOCIATION,              )
    d/b/a ACCREDITATION COMMITTEE           )
    OF THE SECTION OF LEGAL                 )
    EDUCATION AND ADMISSIONS               )
    TO THE BAR,                             )
                                            )
            Defendants.                     )
    _______________________________________)




       INFILAW CORPORATION AND CHARLOTTE SCHOOL OF LAW, LLC’S
         REPLY IN SUPPORT OF THEIR MOTION TO DISMISS THE SECOND
                          AMENDED COMPLAINT
Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 2 of 8 PageID 1369




             Plaintiff’s Opposition (Dkt. No. 98, “Opposition” or “Opp.”) misinterprets the law and

    relies on arguments that have been rejected by nearly every court to consider them.

    1.       Plaintiff’s “Race to Amend” with Lorona Does Not Make Her a First Filer.

             Plaintiff argues that she escapes the first-to-file bar because “for fourteen days this

    action and Lorona lacked an operative complaint, and [she] beat the Lorona relator back to the

    courthouse to get her [amended] qui tam [complaint] on file,” citing Rockwell Int’l Corp. v.

    United States, 549 U.S. 457 (2007). Dkt. 98 (“Opp.”) at 6–7.1 But the first-to-file bar hinges

    on when an action is brought (i.e., commenced), not when an amended pleading might be filed.

    See 31 U.S.C. § 3730(b)(5) (“When a person brings an action under [the FCA], no person other

    than the Government may intervene or bring a related action based on the facts underlying the

    pending action.”); U.S. ex rel. Chovanec v. Apria Healthcare Grp. Inc., 606 F.3d 361, 362

    (7th Cir. 2010) (“One ‘brings’ an action by commencing suit.”); Harris v. Garner, 216 F.3d

    970, 974 (11th Cir. 2000) (“A suit is brought when in law it is commenced.”). Here, Plaintiff

    brought her action on June 6, 2016, while two related, earlier-commenced FCA cases, Lorona

    and O’Connor, both were pending. See Dkt. No. 88 (“Mot.”) at 8–15.

             Rockwell is inapposite and does not support Bernier’s position; that case addressed the

    public disclosure bar, based its holding on the text of that provision, and never mentioned the

    first-to-file bar. See Rockwell, 549 U.S. at 473 (examining text of § 3730(e)(4) and concluding

    that “[t]he statute speaks not of the allegations in the ‘original complaint’ . . . but of the relator’s



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             Bernier’s unsupported claim that a case is not “pending” when the complaint is stricken with leave to
    amend is incorrect. E.g., Axel Johnson Inc. v. Arthur Andersen & Co., 6 F.3d 78, 84 (2d Cir. 1993) (“Rather, a
    case remains ‘pending,’ and open to legislative alteration, so long as an appeal is pending or the time for filing an
    appeal has yet to lapse.”); U.S. ex rel. Carter v. Halliburton Co., 19 F. Supp. 3d 655, 661–62 (E.D. Va. 2014)
    (“[A] relator's pending appeal operates to bar any successive related claims until the appeal is decided.”).
Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 3 of 8 PageID 1370




    ‘allegations’ simpliciter”). By contrast, the first-to-file bar refers to the filing of the original

    complaint. See 31 U.S.C. § 3730(b)(5); U.S. ex rel. Carter v. Halliburton Co., 144 F. Supp.

    3d 869, 882 (E.D. Va. 2015) (“[T]he Supreme Court’s statements in Rockwell are inapplicable

    to the first-to-file context.”); aff’d sub nom. U.S. ex rel. Carter v. Halliburton Co., 866 F.3d

    199 (4th Cir. 2017), cert. denied 2018 WL 587746 (Jun. 25, 2018); U.S. ex rel. Moore v

    Pennrose Props., LLC, 2015 WL 1358034, at *14 (S.D. Ohio 2015) (“[I]n contrast to the

    language of the public disclosure bar discussed in Rockwell, the language of the first-to-file

    bar . . . suggest[s] that Congress intended to isolate the determination of subject matter

    jurisdiction to the time of filing [the initial] complaint.”).

            Plaintiff’s incorrect approach would effectuate precisely the problem the first-to-file

    bar was designed to prevent: allowing an opportunist to oust a true whistleblower (and claim

    the spoils) by waiting for temporary dismissal and filing a new complaint before the original

    relator amends. See In re Natural Gas Royalties Qui Tam Litig., 566 F.3d 956, 961 (10th Cir.

    2009) (“The first-to-file bar . . . functions both to eliminate parasitic plaintiffs who piggyback

    off the claims of a prior relator, and to encourage legitimate relators to file quickly by

    protecting the spoils of the first to bring a claim.”); Wisconsin v. Amgen, Inc., 516 F.3d 530,

    532 (7th Cir. 2008) (“Congress didn’t want . . . bounty hunters piling into the first-filed suit

    and fighting over the division of the spoils, or, to the same end, bringing separate such suits.”).

    2.      Plaintiff’s action is also barred by O’Connor.

            Plaintiff cannot avoid the first-to-file bar based on O’Connor merely because it ended

    after Plaintiff brought this action. Opp. at 3-5. Bernier fundamentally misreads Kellogg Brown

    & Root Servs., Inc. v. U.S. ex rel. Carter, 135 S. Ct. 1970 (2015). Carter recognized that the




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Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 4 of 8 PageID 1371




    first-to-file bar requires dismissal of any FCA action commenced while an earlier-filed related

    action is “pending.” Id. at 1978. But such a dismissal is without prejudice as to filing a new,

    separate action if the earlier-filed case subsequently ends. Id. at 1979; see, e.g., Carter, 866

    F.3d at 206–10 (explaining the only remedy for a first-to-file bar violation is dismissal without

    prejudice as to filing a new action); U.S. ex rel. Shea v. Cellco P’ship, 863 F.3d 923, 929–30

    (D.C. Cir. 2017) (same).2 Thus, dismissal is appropriate here regardless of O’Connor’s

    subsequent conclusion.

    3.       The First-to-File Bar Has No Exceptions.

             Plaintiff suggests that jurisdictionally defective or inadequately pleaded earlier-filed

    cases (i.e., Lorona) do not trigger the first-to-file bar. Opp. at 7–11. While a few courts have

    recognized such exceptions, most have rejected them for two reasons. First, the text of the

    first-to-file bar does not mention any exception, so most courts (including the Eleventh Circuit)

    consider it an “exception free” rule. See 31 U.S.C. § 3730(b)(5); see, e.g., U.S. ex rel. Carson

    v. Manor Care, Inc., 851 F.3d 293, 305 (4th Cir. 2017) (“The first-to-file rule is ‘an absolute,

    unambiguous exception-free rule.’” (citation omitted)); U.S. ex rel. Wilson v. Bristol-Myers

    Squibb, Inc., 750 F.3d 111, 117 (1st Cir. 2014) (same); Makro Capital of Am., Inc. ex rel. U.S.

    v. UBS AG, 2006 WL 4448860, at *4 & n.9 (S.D. Fla. 2006) (rejecting relation-back argument,

    in part, because the first-to-file bar is exception free), aff’d sub nom. Makro Capital of Am.,

    Inc. v. UBS AG, 543 F.3d 1254 (11th Cir. 2008); United States v. Omnicare, Inc., 2014 WL


    2
              Plaintiffs’ only contrary authorities are either on appeal, see U.S. ex rel. Wood v. Allergan, Inc., 246 F.
    Supp. 3d 772, 794 (S.D.N.Y. 2017), or were admittedly in error, see U.S. ex rel. Palmieri v. Apharma, Inc., 2016
    WL 7324629, at *12 (D. Md. 2016) (“I erred in Palmieri I when I determined that it would elevate form over
    substance to dismiss without prejudice, merely because Palmieri could refile his suit. That is what the first-to-
    file rule required.”). Here, the case should be dismissed with prejudice only because further amendment would
    be futile. Mot at 15-32 & n.18; Dkt. No. 71 at 19-20.




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Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 5 of 8 PageID 1372




    1458443, at *6 n.3 (N.D. Ill. 2014) (explaining that Sixth Circuit’s position in Walburn v.

    Lockheed Martin Corp., 431 F.3d 966, 972 (6th Cir. 2005) “has not been adopted by any other

    Circuit and has been either expressly rejected or questioned by several other courts”).

             Second, permitting first-to-file exceptions that turn on the sufficiency of complaints

    pending in other courts “would create a strange judicial dynamic, potentially requiring one

    district court to determine the sufficiency of a complaint filed in another district court, and

    possibly creating a situation in which the two district courts disagree on a complaint’s

    sufficiency.” U.S. ex rel. Batiste v. SLM Corp., 659 F.3d 1204, 1210–11 (D.C. Cir. 2011); see

    also, e.g., U.S. ex rel. Branch Consultants v. Allstate Ins. Co., 560 F.3d 371, 378 n.10 (5th Cir.

    2009) (“The sufficiency of [a] complaint under Rule 9(b) is a matter for that court to decide in

    the first instance.”).3 The Court should decline the invitation to add such a requirement here.

    4.       Plaintiffs’ FCA Claims Are Still Missing Critical Details.

             Rules 8 and 9(b), the FCA, and this Court’s previous Order required Plaintiff to plead

    specific facts, not formulaic recitations and conclusions, which she has failed to do. See Mot.

    at 15–32. Essentially conceding this, she complains Defendants have “refused to produce any

    PPAs,” that she doesn’t need details because she can plead scienter generally, and that she was

    an “insider.” Opp. at 12–19. Plaintiff conflates the element of scienter with the details she is

    required to demonstrate as the basis for her claims—i.e., that she is a whistleblower not an

    opportunist—and that actual misconduct occurred.                      Indeed, the 2009 provisional PPA

    Defendants provided, along with Bernier’s previous averments, demonstrate she has no


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            Plaintiff’s reliance on U.S. ex rel. Poteet v. Medtronic, Inc., 552 F.3d 503, 516 (6th Cir. 2009), and
    Campbell v. Redding Med. Ctr., 421 F.3d 817, 825 (9th Cir. 2005) is misplaced, as those cases relied on a
    superseded version of the public disclosure bar that was jurisdictional. The first-to-file analysis in Poteet is also
    dictum. See U.S. ex rel. Folliard v. Synnex Corp., 798 F. Supp. 2d 66, 75 (D.D.C. 2011).




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Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 6 of 8 PageID 1373




    personal knowledge of its entry.4 Compare Dkt. No. 73 ¶ 75 (alleging that Love, Clark, and

    Hill signed PPA), with Dkt. No. 88-6 at 17 (PPA signed by Dennis Stone), and Dkt. No. 1 ¶¶

    97–98 (no date alleged), and Dkt. No. 48 ¶¶ 54-55 (alleging implicitly that CSL executed its

    PPA in 2011).5 Further, the Eleventh Circuit has rejected the argument that an “insider” is

    entitled to relaxed pleading standards where there are other indicia of reliability and the

    information needed to “properly plead [a] claim is exclusively in the hands of the Defendant[.]”

    U.S. ex rel. Keeler v. Eisai, Inc., 568 F. App’x 783, 800–03 (11th Cir. 2014) (distinguishing

    Hill v. Morehouse Med. Assocs., Inc., 2003 WL 22019936 (11th Cir. 2003), and stating: “Most

    concerning, however, is that many of the details that were required to have been pleaded and

    should have been known to Relator are absent from the Complaint”).

    5.       Plaintiff’s Common Law Claims Are Time-Barred.

             Plaintiff is also wrong that the Court cannot dismiss her common law claims because

    the timeliness inquiry is too “fact specific.” Opp. at 19–20. Plaintiff does not and cannot

    challenge that: the statute of limitations bars any claim that accrued before May 7, 2014 (id.

    at 20); her alleged harm occurred in 2012 (Dkt. No. 73 ¶ 143); and, by her own account, she

    was on notice of the purported violations (establishing accrual) long before May 7, 2014.6 See,

    e.g., id. ¶¶ 89, 92.


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              Plaintiff’s cited cases regarding the personal knowledge required of relators all interpret the original
    source requirement of the public disclosure bar, and are therefore inapposite. See Opp. at 13-14. Defendants
    addressed Bernier’s disingenuous description of U.S. ex rel. Miller v. Weston Educ., Inc., 2012 WL 6190307, at
    *5 (W.D. Mo. 2012) in their opening brief. See Opp. at 15, addressed in Mot. at 18-19.
    5
              Plainly, for example, Bernier does not understand that multi-year PPAs do not have annual
    “recertifications,” or “reapplications” and are instead valid for up to six years. 34 C.F.R. § 668.13(b). Far from
    “semantics” (Opp. at 12), Bernier’s erroneous insistence on the “annual” nature of the very certifications she
    contends create liability reveals her lack of knowledge regarding the PPA process generally and of Defendants’
    PPAs specifically.
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              Further, the Court need not address the timeliness of Plaintiff’s gross negligence claim because it fails
    for other reasons, which Plaintiff concedes by not addressing in her Opposition. See Mot. at 33–45.




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Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 7 of 8 PageID 1374




     Dated: July 3, 2018         Respectfully submitted,

                                 /s/ Mazda K. Antia
                                 Mazda K. Antia, Esq. (pro hac vice)
                                 COOLEY LLP
                                 4401 Eastgate Mall
                                 San Diego, CA 92121
                                 Tel: 858-550-6000
                                 Fax: 858-550-6420
                                 Email: mantia@cooley.com

                                 David E. Mills, Esq. (pro hac vice)
                                 COOLEY LLP
                                 1299 Pennsylvania Avenue
                                 Washington, D.C. 20004
                                 Tel: (202) 842-7800
                                 Fax: (202) 842-7899
                                 Email: dmills@cooley.com

                                 Vincent A. Citro, Esq.
                                 Florida Bar. No. 0468657
                                 LAW OFFICES OF HORWITZ & CITRO, P.A.
                                 17 East Pine Street
                                 Orlando, FL 32801
                                 Tel: (407) 843-7733
                                 Fax: (407) 849-1321
                                 Email: vince@horwitzcitrolaw.com

                                 Counsel for Defendants InfiLaw Corporation and
                                 Charlotte School of Law, LLC




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Case 6:16-cv-00970-RBD-TBS Document 105 Filed 07/03/18 Page 8 of 8 PageID 1375




                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 3, 2018, I electronically filed the foregoing with the
    Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to all
    counsel of record, including the following:

            Coleman W. Watson, Esq.
            Alberto Tomas Montequin, Esq.
            Leia Villasenor Leitner, Esq.
            Ronika Julleen Carter, Esq.
            Watson LLP
            189 S. Orange Avenue, Suite 810
            Orlando, FL 32801

            Counsel for Relator and Plaintiffs

            Johanna W. Clark, Esq.
            Florida Bar No. 196400
            Carlton Fields Jorden Burt P.A.
            450 S. Orange Ave., Suite 500
            Orlando, FL 32801

            Anne E. Rea, Esq.
            Benjamin I. Friedman, Esq.
            Steven Horowitz, Esq.
            Tacy F. Flint, Esq.
            Sidley Austin LLP
            One S Dearborn St
            Chicago, IL 60603

            Counsel for Defendants American Bar Association Council of the Section of
            Legal Education and Admissions to the Bar and American Bar Association Accreditation
            Committee of the Section of Legal Education and Admissions to the Bar

            Jeremy Ronald Bloor, Esq.
            US Attorney's Office
            Suite 3100
            400 W Washington St.
            Orlando, FL 32801

            Counsel for United States of America



                                                             /s/ Mazda K. Antia
                                                             Mazda K. Antia, Esq.
                                                             Counsel for Defendants
    179532195
